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                                7

                                8                            UNITED STATES DISTRICT COURT
                                9                          CENTRAL DISTRICT OF CALIFORNIA
                           10
                                    ORLANDO GARCIA,                             CASE NO. 8:21-cv-00081
                           11
                                                    Plaintiff,
                           12                                                   DEFENDANT PCH BEACH RESORT,
                                            vs.                                 LLC’S NOTICE OF REMOVAL OF
                           13                                                   CIVIL ACTION TO FEDERAL
                                    PCH BEACH RESORT, LLC, a                    COURT PURSUANT TO 28 U.S.C. §§
                           14       Delaware Limited Liability Company;         1331, 1367 (CIVIL ACTION ARISING
                                    and DOES 1-10;                              UNDER THE LAWS OF THE UNITED
                           15                                                   STATES)
                                                    Defendants.
                           16                                                      Orange County Superior Court
                                                                                   No. 30-2020-01168522-CU-CR-CJC
                           17

                           18       TO THE CLERK OF COURT OF THE UNITED STATES DISTRICT COURT
                           19       FOR THE CENTRAL DISTRICT OF CALIFORNIA:
                           20               PLEASE TAKE NOTICE that Defendant PCH BEACH RESORT, LLC, a
                           21       Delaware limited liability company (“Defendant”), hereby removes the state court
                           22       action described below from the Superior Court of the State of California for the
                           23       County of Orange to the United States District Court for the Central District of
                           24       California pursuant to 28 U.S.C. §§ 1331 and 1367.
                           25       I.      JURISDICTIONAL STATEMENT
                           26               This action is a civil action arising under the Americans with Disabilities
                           27       Act, 42 U.S.C. § 12101, et seq. Accordingly this Court has original jurisdiction
                           28
                                    BN 43691276v1                              1
      BUCHALTER
A PROFES SION AL CORPORAT ION            DEFENDANT PCH BEACH RESORT, LLC’S                            CASE NO. 8:21-cv-00081
       SAN FR ANCISCO
                                                NOTICE OF REMOVAL
                        Case 8:21-cv-00081-DOC-JDE Document 1 Filed 01/14/21 Page 2 of 4 Page ID #:2



                                1   pursuant to 28 U.S.C. § 1331, and it has supplemental jurisdiction over the related
                                2   state law claim (Unruh Civil Rights Act, Cal. Civ. Code §§ 51-53) pursuant to 28
                                3   U.S.C. § 1367.
                                4   II.   COMPLIANCE WITH STATUTORY REQUIREMENTS FOR
                                5         REMOVAL
                                6         1.     On November 4, 2020, Plaintiff Orlando Garcia (“Plaintiff”) filed a
                                7   complaint (“Complaint”) in the Superior Court of the State of California for the
                                8   County of Orange styled Orlando Garcia v. PCH Beach Resort, LLC, Case No. 30-
                                9   2020-01168522-CU-CR-CJC (“Action”). True and correct copies of the Complaint,
                           10       Civil Case Cover Sheet, and Summons are attached hereto as Exhibit “A.” The
                           11       Complaint alleges two causes of action: (1) Violation of the Americans With
                           12       Disabilities Act of 1990 and (2) Violation of the Unruh Civil Rights Act. The
                           13       Complaint alleges both causes of action against “all Defendants” and seeks injunctive
                           14       relief, statutory damages, attorney fees, litigation expenses, and costs of suit.
                           15             2.     Defendant received a copy on or about December 30, 2020, and a copy
                           16       was then forwarded to Defendant’s counsel on January 4, 2021. (Declaration of
                           17       Zachary L. Spear [“Spear Decl.”] at ¶ 3.)
                           18             3.     Plaintiff did not timely file a proof of service of process within 60 days
                           19       of filing of the Complaint as required by California Rule of Court 3.110(b).
                           20       Defendant’s counsel was provided with a draft of a Proof of Service via email on
                           21       January 8, 2021. A true and correct copy of the email is attached hereto as Exhibit
                           22       “B,” and a true and correct copy of the draft Proof of Service is attached hereto as
                           23       Exhibit “C.” As of the date of the filing of this Notice of Removal, Defendant has
                           24       not received a conformed copy of Exhibit C. According to the draft Proof of Service,
                           25       Defendant was served via substituted service on December 15, 2020, the date a copy
                           26       of the documents was left with an “executive assistant”, followed by mailing a copy
                           27       of the documents to the person to be served on December 16, 2020. (Exhibit C.) By
                           28       operation of California law, service is deemed complete on the tenth day after
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                                1   mailing: Saturday, December 26, 2020. California Code of Civil Procedure §
                                2   415.20(a).
                                3          4.    Defendant’s removal is timely because it was filed within 30 days after
                                4   Defendant received a copy of Plaintiff’s Complaint containing its request for relief
                                5   under federal law, from which Defendant ascertained that the case is removable to
                                6   this Court. 28 U.S.C. § 1331.
                                7          5.    Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide
                                8   written Notice of Removal of this Action to Plaintiff and will promptly file a copy of
                                9   this Notice of Removal with the Clerk of the Superior Court of California for the
                           10       County of Orange.
                           11              6.    Pursuant to Rule 5(d) of the Federal Rules of Civil Procedure, Defendant
                           12       will file with this Court a Certificate of Service of Notice to Adverse Parties of
                           13       Removal to Federal Court.
                           14              7.    The jurisdiction of the United States District Court for the Central
                           15       District of California includes the County of Orange. Accordingly, this Court is a
                           16       proper venue for this Action pursuant to 28 U.S.C. §§ 84(c) and 1441(a).
                           17              8.    Plaintiff does not allege the location of his residence other identifying
                           18       the state of California. (Complaint at ¶ 1.)
                           19              9.    Defendant is, and was at the commencement of the Action, a limited
                           20       liability company formed under the laws of Delaware with its principal place of
                           21       business in the state of California. (Complaint at ¶ 2.)
                           22              10.   Copies of all other documents that have been filed in the Action are
                           23       attached hereto as Exhibit “D.”
                           24       III.   STATEMENT OF THE GROUNDS FOR REMOVAL
                           25              11.   Defendant removes this case pursuant to 28 U.S.C. § 1331. Removal is
                           26       proper because Plaintiff alleges claims arising from the Americans With Disabilities
                           27       Act, codified at 42 U.S.C. § 12101, et seq., and because Defendant is timely filing
                           28       this Notice of Removal within 0 days of its receipt of a copy of Plaintiff’s Complaint.
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                                1         12.    WHEREFORE,          Defendant prays that the state court action now
                                2   pending against it in the Superior Court for the State of California for the County of
                                3   Orange be removed to this United States District Court for the Central District of
                                4   California
                                5

                                6   DATED: January 14, 2021                BUCHALTER
                                                                           A Professional Corporation
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                                8
                                                                           By:
                                9                                                     TRACY A. WARREN
                                                                                      ZACHARY L. SPEAR
                           10                                                         Attorneys for Defendant
                                                                                    PCH BEACH RESORT, LLC
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       SAN FR ANCISCO
